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                                                                      0]v:

               IN THE UNITED STATES DISTRICT COURT
                                                                     PMI2:26
                  THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION




UNITED STATES OF AMERICA,


V.                                            Case No.    CR418-119


ANTHONY WILSON JACKSON,
                  Defendant




UNITED STATES OF AMERICA,


V.                                            Case No.    CR418-258


TIMOTHY LEE LANIGAN,
                  Defendant




UNITED STATES OF AMERICA,


V.                                            Case No.    CR419-81


ISRAEL RAMIREZ-HERNANDEZ,
                  Defendant.




                                 ORDER



      W. John Toner, IV, counsel of record for defendants in the

above-styled cases, has moved for leave of absence.           The Court is

mindful that personal and professional obligations require the

absence   of    counsel on occasion. The Court, however, cannot
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accommodate its schedule to the thousands of attorneys who practice

within the Southern District of Georgia.

     Counsel may be absent at the times requested. However, nothing

shall prevent these cases from going forward; all discovery shall

proceed, status conferences, pretrial conferences, and trial shall
not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.


     SO ORDERED this           day of June 2018.




                                  HONORABLE WILLIAM         MOORE, JR,
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA
